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Attorney for VERA ZHIRY

                                    UNITED STATES DISTRICT COURT

                                EASTERN DISTRICT OF CALIFORNIA

                                       SACRAMENTO DIVISION

UNITED STATES OF AMERICA,                                 Case No. 2:11-CR-450 TLN

                       Plaintiff,                         STIPULATION AND ORDER
                                                          REGARDING DEFENDANT VERA
       vs.                                                ZHIRY’S WAIVER OF APPEARANCE
VERA ZHIRY,                                               FOR RE-SENTENCING
                                                          DATE:     August 3, 2017
                       Defendant.                         TIME:     9:30 a.m.
                                                          COURT:    Hon. Troy L. Nunley


                                            STIPULATION

       Plaintiff United States of America and defendant Vera Zhiry, by and through their respective

counsel of record, hereby stipulate as follows:

       1.       On April 20, 2017, the Ninth Circuit vacated Ms. Zhiry’s sentence and remanded the case

for re-sentencing “‘so the district court can consider the factors now listed in amended § 3B1.1’ of the

sentencing guidelines.” Dkt. 357.

       2.       On April 27, 2017, this Court scheduled re-sentencing for defendant Vera Zhiry for

August 3, 2017, at 9:30 a.m. Dkt. 359.

       3.       On May 23, 2017, Ms. Zhiry was transferred to the Sacramento County Jail for the re-
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sentencing hearing. Ms. Zhiry was previously incarcerated at the Federal Prison Camp at FCI Dublin, a

facility for minimum-security female inmates.

       4.       As reflected in the Waiver of Appearance attached hereto as Exhibit A, Ms. Zhiry has

now voluntarily waived her appearance for the re-sentencing hearing pursuant to Federal Rule of

Criminal Procedure 43(c)(1)(B). Accordingly, the parties agree that Ms. Zhiry should be returned to the

custody of the Bureau of Prisons forthwith so that she can be re-designated to a federal institution.

       IT IS SO STIPULATED.

Dated: May 30, 2017                                           PHILLIP A. TALBERT
                                                              United States Attorney

                                                              /s/ LEE S. BICKLEY
                                                              LEE S. BICKLEY
                                                              Assistant United States Attorney


Dated: May 30, 2017                                           /s/ ALEXIS HALLER
                                                              ALEXIS HALLER
                                                              Counsel for Defendant
                                                              VERA ZHIRY


                                                 ORDER

       Based upon the foregoing, the Court accepts defendant Vera Zhiry’s voluntary waiver of

appearance for the re-sentencing hearing scheduled for August 3, 2017, at 9:30 a.m. Ms. Zhiry shall be

returned to the custody of the Bureau of Prisons forthwith.

       IT IS SO FOUND AND ORDERED this 30th day of May, 2017.




                                                                     Troy L. Nunley
STIPULATION REGARDING WAIVER
OF APPEARANCE FOR RE-SENTENCING
                                                                     United States District Judge
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